                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TENNESSEE
                                WINCHESTER DIVISION

 BUILDERS MUTUAL INSURANCE                        )
 COMPANY                                          )
                                                  )
         Plaintiff,                               )           JURY DEMAND
                                                  )
 v.                                               )           Civil Action No. 4:09-cv-73
                                                  )           Judge Mattice
 PARKER BROTHERS, LLC, and                        )           Magistrate Judge Lee
 MARVIN B. PARKER.                                )
                                                  )
         Defendants.                              )

                FINAL AGREED ORDER OF COMPROMISE SETTLEMENT
                         AND DECLARATORY JUDGMENT

         It appearing to the Court, as evidenced by the signatures of counsel below, that the parties

 have reached a compromise to settle all claims which were raised or which could have been raised

 in this action, and that the parties have agreed to dismiss with prejudice their actions and claims

 against each other on a compromise basis in order to avoid the further hazards and costs of

 litigation;

         It is therefore ORDERED, ADJUDGED, and DECLARED that based upon the

 grounds stated in the Complaint in this action for declaratory judgment, there is no coverage

 under the subject Builders Mutual commercial general liability policy, Policy No. CPP 0030890

 00, for any claims raised against Parker Brothers, LLC, and/or Marvin B. Parker by the Plaintiffs

 in the lawsuit styled Christopher Smotherman and James Smotherman, Sr., v. Marvin Parker and

 Parker Brothers, LLC, et al, Bedford County Circuit Court, No. 11851;




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        It is further ORDERED, ADJUDGED, and DECREED that all claims which were

 brought or which could have been brought by the parties arising from and/or in connection with

 the subject racetrack incident which occurred on June 7, 2008, of Parker Brothers, LLC, and/or

 Marvin B. Parker, against the subject Builders Mutual commercial general liability policy, Policy

 No. CPP 0030890 00, be and hereby are released with prejudice;

        It is further ORDERED, ADJUDGED, and DECREED that all claims which were

 raised or which could have been raised in this action by Parker Brothers, LLC, and/or Marvin B.

 Parker against Builders Mutual Insurance Company with regard to the subject racetrack incident

 which occurred on June 7, 2008, be, and hereby are, dismissed with prejudice;

        It is further ORDERED that this action be and hereby is dismissed with prejudice, each

 party to bear the respective party’s own costs.




                ENTER this the ________ day of __________________, 2010.




                                               ______________________________________________
                                               UNITED STATES DISTRICT JUDGE




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 APPROVED FOR ENTRY:

 LEITNER, WILLIAMS, DOOLEY,
 & NAPOLITAN, PLLC

 By:   /s/ Reid D. Leitner
       Reid D. Leitner, Esq.
       BPRN: 16187
       414 Union Street, Suite 1900
       Nashville, Tennessee 37219-1782
       (615) 255-7722



 BUSSART LAW FIRM

 By:   /s/ Walter W. Bussart
       Walter W. Bussart, Esq.
       BPRN: 2862
       520 North Ellington Parkway
       Lewisburg, Tennessee 37091
       (931) 359-6264




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                                             CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the foregoing document
 has been forwarded by electronic means via the Court’s electronic filing system to all parties and
 counsel of record, including:

                                           Walter Bussart, Esq.
                                           BUSSART LAW FIRM
                                           520 North Ellington Parkway
                                           Lewisburg, Tennessee 37091

                                           John Murray Neal, Esq.
                                           P.O. Box 51930
                                           Knoxville, Tennessee 37950


            This the 4th day of October, 2010.



                                                               By:       s/Reid D. Leitner
                                                                         Reid D. Leitner



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